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 1                                                                           The Honorable Tana Lin
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 7                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 8                                     AT SEATTLE
 9   STATE OF WASHINGTON, et al.,                         NO. 2:25-cv-00848-TL
10                            PLAINTIFFS,                 STIPULATED MOTION FOR
                                                          PROPOSED BRIEFING SCHEDULE
11          v.                                            AND TO EXTEND DISCOVERY
                                                          DEADLINES
12   U.S. DEPARTMENT OF
     TRANSPORTATION, et al.,                              NOTE ON MOTION CALENDAR:
13                                                        JULY 18, 2025
                              DEFENDANTS.
14

15          Pursuant to LCR 7(d)(1), LCR 7(k), and LCR 10(g), and Judge Lin’s Standing Order,

16   Section III.G, the parties submit this stipulated motion for a briefing schedule on dispositive

17   cross-motions and to extend discovery-related deadlines.

18          Defendants filed the administrative record on July 7, 2025. The parties have conferred

19   and have agreed that Plaintiffs’ Complaint (Dkt. 1) presents questions of law that may be

20   resolvable through dispositive cross-motions without the need for factual discovery.

21   Accordingly, in the interest of efficiency, uniform deadlines, and conserving the time and

22   resources of counsel and the Court, the parties respectfully move the Court to extend the

23   deadlines to meet and confer under Fed. R. Civ. P. 26(f ), to file initial disclosures under

24   Fed. R. Civ. P. 26(a)(1), and to file a combined joint status report and discovery plan under

25   Fed. R. Civ. P. 26(f), to the extent discovery is necessary, until after the Court has resolved

26   all dispositive motions. The parties also request that the Court enter the following schedule:

       STIPULATED MOTION FOR                                             ATTORNEY GENERAL OF WASHINGTON
                                                                             Environmental Protection Division
       PROPOSED BRIEFING                                                       800 Fifth Avenue STE 2000
       SCHEDULE AND TO EXTEND                                                       Seattle, WA 98104
                                                                                     (206) 464-7744
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 1      1. Defendants shall be relieved of any obligation to serve and file any answer to
 2          Plaintiffs’ operative complaint, unless any claims remain pending after the Court has
 3          ruled on all dispositive motions, in which case Defendants shall have 30 days after
 4          the Court has resolved all dispositive motions to answer Plaintiffs’ operative
 5          complaint.
 6
        2. Plaintiffs and Defendants shall file dispositive cross-motions on August 8, 2025.
 7

 8      3. Plaintiffs and Defendants shall have up to and including August 27, 2025, to file any
 9          responses to the opposing parties’ dispositive motion(s).
10
            The parties preserve all arguments and defenses; no party waives any argument or
11
     defense by entering into and filing this joint motion, except as expressly stated above.
12
     A proposed order is appended to this stipulated motion pursuant to LCR 10(g).
13
            DATED this 17th day of July 2025.
14
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